Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 1 of 32

 

IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH

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SCEN`IC AVIATION, INC., a Utah

 

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Plaintiff, OPINION GRANTING SUMMARY
JUDGMENT FOR DEFENDANTS
MCCRACKEN AND SIMPONIS
VS.
JAMES BLICK, DARCY MCCRACKEN, Case NO. 2202-CV-012()l PGC

NICO SIMPONIS, and JACK MALONE,

Defendants.

 

 

This case involves an attempt by the plaintiff, Scenic Aviation, lnc., to enforce 'a non-
solicitation covenant purportedly signed by the defendants Scenic alleges it is an air ambulance
company that provides services to five medical facilities in Arizona, primarily on the Navajo and
Hopi Indian Reservation. T he defendants Worked as a pilot, a flight nurse, and a paramedic on
Scenic’s flights

Before the court is a motion by two of the defendants f Nico Simponis and Darcy McCracken
- seeking summary judgment on all claims against them. Their motion centers on the claim that
Scenic is not the proper plaintiff in this action. Simponis and McCracken argue that, While Scenic

Was their employer, Scenic only leased their services to Eagle Air Med Corporation. Since Eagle

Case 2:O2-cv-0120l-PGC Document 80 Filed 08/04/03 Page 2 of 32

Air Med is the only air ambulance service accredited by the relevant accrediting agency, Simponis
and McCracken assert that they could not have violated any covenant not to solicit customers of
Scenic.

While Simponis and McCracken’s technical argument about proper plaintiff has merit, it
appears that the problems raised could conceivably be resolved by amending the complaint The
court prefers to proceed directly to the heart of this dispute: whether Scenic can restrain Sirnponis
and McCracken from competing against it. The court concludes that any such restraint in this case
is unenforceable because enforcement of the non-solicitation clause would unfairly limit
competition and likely limit the delivery of critical medical services to an area that has long been
under-served Accordingly, summary judgment is proper for these defendants on the claims arising
out of the covenant not to compete and all other claims, which are ancillary to it. This opinion
explains the reasons for this conclusion

FACTUAL BACKGR()UND AND PROCEDURAL HISTORY

Scenic’s complaint in this case is premised on a violation of a non-solicitation clause in an
Employment Agreement allegedly signed by the defendants The defendants were employees of
Scenic and worked for Scenic on air ambulance flights as a flight nurse (McCracken), a flight
paramedic (Simponis), and a pilot (Blick). Most of Scenic’s air ambulance work is done for five
hospitals located in remote areas in the southwestern United States: Fort Deflance PHS lndian
Hospital located in Window Rock, Arizona; Chirrle Comprehensive Health Care Facility, located in
Chinle, Arizona; Kayenta PHS Indian Hospital, located in Kayenta, Arizona; Hopi Health Care

Center, located in Keams Canyon, Arizona; and Sage Memorial Hospital, located in Ganado,

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 3 of 32

Arizona. These are all areas that lack extensive transportation infrastructure and have long had
insufficient medical services Most of these areas are located within the Navajo and Hopi Nations.

Scenic claimed that the defendant employees had violated their Employrnent Agreements.
The contract signed by Blick and McCracken contained the following provisions:

Employee will have access to and help develop the goodwill of the Company and will be
called upon to work closely with customers and employees of Company in performing
services under this Agreement. All information about such customers and employees which
becomes known to Employee during the course of employment is a Trade Secret of Company
and shall not be used by Employee in soliciting or taking away customers or employees of
Company after termination of the Agreement.

Without limiting the preceding paragraph, the employee shall not for a period of one (l) year
immediately following the termination of his/her employment With the Company, either
directly or indirectly, call on, solicit, or take away or attempt to call on, solicit or take away,
any of the customers of the Company on whom the Employee called or with whom he/ she
became acquainted during his/her employment With the Company either for himself/herself
or for any other person, firm or corporation, unless specifically authorized in writing by the
President of the Company.

Employee stipulates and agrees that the terms of this nonsolicitation agreement are
reasonable and necessary to protect the legitimate business interests of the Company and that
this agreement will not preclude Employee from having a living if Employee leaves the
employment of the Company. ln the event of a breach or threat of breach by employee of
this agreement, Employee acknowledges that the remedy of the Company for such breach or
threat of breach shall be inadequate at law, and agrees that the Company shall be entitled to
an injunction reserving such breach or threatened breach, in addition to any other remedy
provided at law or in equity all of which shall be cumulative and not exclusive

J ames Blick signed a contract containing this provision on June 19, 2002. Darcy McCracken signed
a contract with this provision late at night on October 19, 2002. This court has never received a copy
of a signed contract from Mr. Simponis. `Early in the morning of October 19, 2002, Bowers and
Hunt approached the defendants after midnight, at the end of an eight hour shift, and asked them to

sign an Employment Agreement. Simponis refused, and resigned shortly thereafter. McCracken

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 4 of 32

asked what would happen if he did not sign, and it was told he would be “off the schedule,” meaning
not paid, until he signed Mr. McCracken quickly reviewed the contract and signed McCracken left
Scenic six days later on October 25, 2002. According to Blick, another defendant, who left Scenic
with McCracken and Simponis, Simponis later stated he remembered signing an employment
agreement, prior to October 2002.

The complaint alleged that the defendants started a competing air ambulance service “Stat
Air.” The facts regarding the competing service do not appear to be in dispute. Blick met with
both McCracken and Simponis during October 2002. Blick agreed to find an operator with an FAA
certificate who could be used to supply aircraft for the new company. Blick contacted David Fenner,
who had an FAA certificate and who was not an employee of Scenic. Fenner agreed to provide
financing and aircraft for the new company, to be known as “Stat Air.”

ln October 2002, Blick approached numerous pilots employed by Scenic in an attempt to
recruit them to Stat Air. According to Blick, McCracken and Simponis also attempted _
unsuccessfully a to recruit other Scenic employees Dr. Gary Herring was also recruited to join Stat
as a co-owner. Herring was manager of the emergency room at Fort Defiance PHS Indian Hospital
and was responsible for choosing which air ambulance service would be used when such services
were needed. McCracken, Simponis, Fenner, Herring, and Blick established abusiness plan for Stat
Air under which it would service Fort Defiance PHS Indian Hospital, Chinle Comprehensive Health
Care Facility, Hayenta PHS lndian Hospital, Hopi Health Care Center, and Sage Memorial Hospital.

McCracken, Simponis and Blick still worked for Scenic during these meetings

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 5 of 32

Stat Air was actually formed sometime in November 2002. lt existed on paper as a separate
corporation, but leased aircraft from Sun West Aviation, Inc., a company owned by David Fenner.
Shortly after starting Stat Air, in November 2002, Blick, McCracken and Simponis learned that the
lndian Health Service (lHS) required all air ambulance service providers to be CAMTS accredited
When it became clear that Stat could not obtain CAMTS accreditation in a timely manner,
McCracken, Simponis, Herring, Fenner and Blick, sought to find a different air ambulance service
that Was already accredited Shortly thereafter, the defendants approached AeroCare Medical
Transport, Inc, a company that did have CAMTS certification AeroCare agreed to act as the
“operator” of the air ambulance service. Under the arrangement, Fenner’s company (Sunwest
Aviation, lnc.) agreed to act as vendor for AeroCare. McCracken and Simponis went to work for
AeroCare as part of their medical crew in January 2003. Notably, neither AeroCare, Sunwest,
Fenner nor Herring are named parties in this litigation AeroCare was paid by hospitals and shared
revenue with Fenner, Herring, McCracken, Simponis and Blick on a per-flight basis. McCracken
and Simponis remain employed by Stat Air until January 2003, when they left to work for AeroCare.

As a result of these two months of competition Scenic alleges that it lost revenues Prior to
the entry of Stat Air into the market, Scenic had a monopoly over air ambulance service to certain
IHS hospitals Scenic’s complaint, filed on November 4, 2002, alleged seven causes of action,
specifically (l) breach of contract, specifically breach of the covenant not to solicit; (2) breach of
implied covenant of good faith and fair dealing, (3) interference with economic relations, (4)

conversion, (5) disloyalty/breach of fiduciary duty, (6) civil conspiracy, and (7) unfair competition

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 6 of 32

On December 19, 2002, Scenic sought a preliminary injunction The court denied the
injunction on several grounds, but three critical factors influenced its decision First, Scenic and Stat
Air primarily served the populations of Navajo and Hopi Reservations. The court concluded it would
be unwise public policy to limit the ambulance services to these remote hospitals Secondly, Scenic
had failed to demonstrate Why its alleged injuries were not recoverable as monetary damages
Finally, on the issue of“success on the merits” the court expressed concern about the lack of a signed
contract between Mr. Simponis and Scenic; and concerns about overreaching by Scenic when Mr.
McCracken signed his contract.

Unbeknownst to this court, on December ll, 2002, CAMTS suspended Eagle Air Med’s
accreditation as an air ambulance provider. On January 24, 2002, Eagle brought suit against
CAMTS to reinstate its accredited status, again seeking a preliminary injunction, this time from
Judge Kimball. ln Eagle’s complaint, Eagle alleged losses of $4400 a day in net revenues, and a loss
of $350,000 between December 12, 2002 and January ll, 2003, due to its lost accreditation status

On April 16, 2003, defendants Simponis and McCracken filed a motion for summary
judgment They contended that, although Scenic Was defendants’ employer, Scenic only leased
defendants’ medical services to Eagle Air Med Corporation. Eagle Air Med and Scenic are two
separate corporations Only Eagle Air Med is an air ambulance service Therefore, Simponis and
McCracken contend they did not violate any agreement forbidding solicitation ofScenic’s customers

since only Eagle Air Med had customers

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 7 of 32

Simponis and McCracken further observe that Scenic, in its pleadings listed Eagle as its
“dba,” but this “dba” is not registered with the Utah Department of Commerce. Scenic and Eagle
have separate offices in Blanding, Utah, but are located in the same building

ln support of its contentions about the distinction between Scenic and Eagle, defendants cite
extensively from another lawsuit filed in this court: Eagle Air Med Corporation v. Commission on
Accreditarr`on of Medz'cal Transporr Systems (Ci¢fl\/fl’i$').l This lawsuit arises out of CAMTS’s
suspension, on December ll, 2002, of Eagle Air Med’s accreditation On February 10, 2003, by
court order from Judge Kimball of this court, Eagle’s CAMTS certification was reinstated, until a
trial on the merits on issues surrounding Eagle’s loss of` CAMTS certification This lawsuit was
brought only by Eagle, and Simponis and McCracken, contend that this demonstrates that the two
companies are separate entities Simponis and McCracken argue that in that suit Scenic did not lose
its accreditation only Eagle did

ln response, Scenic frankly acknowledges that “Scenic and Eagle are separately incorporated
and observe appropriate corporate formalities” Moreover, Scenic does not dispute that the
defendants’ contract was with Scenic, the defendants were paid by Scenic, and the defendants were
Scenic employees Scenic also concedes that it did not have relationships with the hospitals in
question, nor earn revenue directly from them', rather, Eagle did and then shared that revenue with
Scenic. Scenic maintains that because the two companies operated under a “joint agreement,” this

court should recognize their status as one company_

 

l No. 2:O3CV00093 (D. Utah Jan. 24, 2003).

7

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 8 of 32

STANDARD OF REVIEW

The standards for summary judgment are Well known A party is entitled to summary
judgment when the nonmoving party fails to show that there is a genuine issue for trial.2 The primary
purpose of a motion for summary judgment is to pierce the allegations in the pleadings and
demonstrate that genuine issues of material fact are lacking3

DISCUSSION

I. Eagle Air Med as the Proper Plaintif`f.

The focus of the defendants’ motion for summary j udgment is the claim that Eagle Air Med,
rather than Scenic, is the proper plaintiff First and foremost, Eagle is not mentioned or listed
anywhere on the contract in question Scenic paid the defendants and Scenic acknowledges in its
petition the organizations are “two separate companies.” Furthermore, Eagle sought revenue from
CAMTS for lost flights, yet Scenic also sought revenue from Simponis and McCracken for lost
flights Scenic’s contention that it is really Eagle calls into question Scenic/Eagle’s choice to seek
damages from two different sources for the same lost flight revenue. lt is undisputed that Scenic did
not provide air ambulance service and Eagle was not a party to the contract On these grounds, the
court could Well rule in favor of the defendants

Resting judgment on these rather technical grounds, however, does not appear to be the best
way to resolve this case. Such a disposition might be viewed as elevating form over substance and

might lead, for example, to subsequent motions by Scenic to amend its complaint to include Eagle

 

2See Hom v. Sqm`re, 81 F.3d 969, 973-74 (l()th Cir. 1996).

3See FED. R. Clv. PRo. 56(c).

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 9 of 32

Air Med as a plaintiff Rather than rest on these narrow grounds the court prefers to tackle head on
the question of whether either Scenic (or Eagle Air Med, for that matter) can restrain the defendants
from competing in the air ambulance business Both parties have essentially briefed this issue when
briefing the motion for a preliminary injunction

II. Claims against McCracken and Simponis

A. Invalidity of the Non~Solicitation Clause

Scenic’s entire complaint revolves around the restrictive employment covenant that, Scenic
contends, has been signed by all three defendants before the court. One threshold question deserves
brief discussion lt is undisputed that Scenic has not provided an executed employment agreement
from Mr. Simponis, which would be sufficient grounds for summary judgment rejecting the breach
of contract claim. However, Scenic contends that Simponis admitted to a co-defendant - Mr. Blick
f that he (Sirnponis) had signed an employment agreement Scenic has provided no specific terms
of this agreement, and any such proposed terms would be pure speculation However, for purposes
of this motion the court will assume that Simponis agreed to the same non-solicitation clause as
defendants McCracken and Blick.

Scenic suggests that Utah law govems this issue, and the court will proceed on that basis

Under Utah law, restrictive employment covenants are enforceable if carefully drawn to protect only
the legitimate interests of the employer As the Utah Supreme Court explained in Robbins v.
Fi`ndlay:

Covenants not to compete are enforceable if carefully drawn to protect only the

legitimate interests of the employer The reasonableness of a covenant depends upon

several factors, including its geographical extent; the duration of the limitation; the
nature of the employee’s duties; and the nature of the interest which the employer

9

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 10 of 32

seeks to protect such as trade secrets the goodwill of his business or an

extraordinary investment in the training or education of the employee ln a general

sense, the law balances the nature of the interest of one seeking to enforce such a

covenant, whether by injunction or by stipulated damages against the hardship

imposed on the employee as the result of the restraint Covenanrs not to compete

which are primarily designed to limit competition or restrain the right to engage in

a common calling are nor enforceable4
Based on these factors the court concludes that the undisputed facts establish that the particular
covenant at issue here is not enforceable as to the particular defendants before the court

A restrictive covenant is only enforceable Where it is needed to protect such things as “trade
secrets the goodwill of [a] business or an extraordinary investment in the training or education of
an employee.” Scenic argued in its motion for preliminary injunction it needed this clause to protect
both its trade secrets and its goodwill. The trade secret contention can be quickly dispatched Scenic
claims the names of the employees working at these hospitals and making air ambulance decisions
were “trade secrets” To consider this list of contacts information easily obtainable through any
number of sources the property of Scenic stretches the trade secret doctrine to the point of

“unrecognizability_”5

A customer list that is easily reproducible through the simple process of
looking up the names and addresses of hospitals and clinics in a telephone directory is not

protectable as a trade secret6

 

4 Robbins v. Finlay, 645 P.2d 623, 627 (Utah 1982) (emphases added) (citations
omitted).

5See Renee Beauty Salons, ]nc., v. Blose- Venable, 652 A.Zd 1345, 1349 (Pa. Sup. Ct.
l995), appeal denied, 661 A.2d 874 (Pa. l995).

6Robl)ins, 645 P.2d at 628 n 10 (1982) citing Microbiological Research Corp. v. Mnna,
Utah, 625 P.2d 690 (Utah 1981).

10

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 11 of 32

Scenic also argues that Eagle’s CAMTS compliance manual qualifies as a trade secret
However, even assuming the disk came from Simponis as Blick implies CAMTS compliance
information is readily available from CAMTS itself and therefore is not a “trade secret” of Scenic
or Eagle.

Scenic also raises the need to protect its goodwill, claiming that its relations with the lHS
hospitals needed to be protected through the non-solicitation clause. Scenic maintains that the
relationship that McCracken and Simponis established with the lHS hospitals was the sole basis for
the hospitals’ choice of air ambulance service, and was “goodwill” in need of protection First, the
covenant as to McCracken and Simponis only applies to Ft. Defiance, not all lHS hospitals Scenic
in its pleadings only alleges lost flights from Ft. Defiance, and discusses how McCracken and
Simponis lived near Ft. Defiance. They could not have been at Ft, Defiance almost daily and also
built up goodwill at other hospitals simultaneously The only real issue is whether the non-
solicitation clause barred their solicitation at Ft. Defiance.

Scenic argues it has a legitimate interest in protecting its goodwill with Ft. Defiance. Any
interest, however, would be slim. In Eagle’s complaint in the CAMTS suit, Eagle indicates that to
“further develop its goodwill and reputation” it had been engaged in a major marketing campaign
throughout 2002, without any mention of Scenic employees McCracken and Simponis7 The only
potential goodwill at issue in this case would have been developed by fairly low-level personnel on
their day-to-day operations Moreover, Scenic acknowledges that Dr. Herring, as director of the

emergency room at Ft. Defiance, made the ultimate decisions on air ambulance services and could

 

l Eagle v. CAMTS, 2:03CV00093 DAK, Complaint, p. 8, #39.

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Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 12 of 32

only approve ambulance services that held a CAMTS certifications ln fact, Dr. Herring himself
owned a portion of Stat Air, the air ambulance business the defendants started The great bulk of
any “goodwill” that Scenic possesses in its operations presumably comes from the fact that lHS
hospitals must chose a CAMTS certified air ambulance service This fact is further evidenced by
Eagle’s complaint in the CAMTS suit alleging $350,000 in lost revenue, and 78 lost flights in the
one month following suspension of its CAMTS certification Scenic’s “goodwill” is therefore,
almost entirely due to Eagle’s CAMTS certification, rather than to any personal relationship that
McCracken and Simponis (among others) may have established with these hospitals

For all these reasons it appears that Scenic has little legitimate basis for a restrictive
covenant On the other hand, compelling reasons weigh against enforcing any covenant in this case.
First, Robbins instructs that covenants that “restrain the right to engage in a common calling are not

”9 In Robbins, the court concluded that a covenant not to compete imposed on a hearing

enforceable
aid salesman was a unreasonable and unenforceable due to his employment in a “common calling.”
The court concluded that the employer had made no showing that his services were sufficiently
“special, unique7 or extraordinary,” to justify the restraint on employment even though they had

demonstrated that his value to his employer was high. 10 The court concluded that even if he was

especially proficient in his work, “[t]he efficiency and skills which an employee develops through

 

3 See Eagle v. CAMTS, 2:03CV00093, #31.
9 Robbins, 645 P.2d at 627.
m ]d.

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Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 13 ot 32

his work belong[s] to him and not to his former employer.”11 Scenic, in its complaint, has alleged
nothing indicating that McCracken and Simponis’ skills were special, unique or extraordinary
These two defendants were emergency medical staffers, and Scenic has not alleged they had any
unique responsibilities other than taking care of individuals that had the misfortune of being injured

Had the defendants been salespeople with access to confidential information12 or higher level
executives in Scenic with knowledge of product development,13 the outcome might be different
Scenic has not alleged facts supporting a conclusion that McCracken and Simponis possessed
“unique, special, or extraordinary” skills sufficient to justify a restraint on their future employment

ln reviewing restrictive covenants the court must balance the hardship imposed on the
employee, by restraint on his ability to practice his trade, against the nature of interest of the
employer. 14 Rol)bins further instructs that “{c]ovenants not to compete which are primarily designed
to limit competition . , , are not enforceable.”15 The undisputed facts here show that Scenic primarily
designed its covenant to limit competition Obviously, the inability of Scenic to point to legitimate
reasons for the covenant suggests that conclusion Moreover, in contrast to the normal market with
an abundance of competitors Scenic apparently had monopolistic control over the delivery of`

medical transportation services to Ft. Defiance. ln the absence of other actual reasons for the

 

11 ld. at 62 citing Hallmark Personnel of Texas, lnc. v. Franks, 562 S.W.2d 933, 936
(Tex. Ct. App, 1978).

12 See Kasco Services Corp. v. Benson, 831 P.2d 86, 87 n. 2 (Utah 1992)

13 See System Concepts, lnc. v. Dixon, 669 P.2d 421, 426 n. ll (Utah 1983).
14 See Rohbins, 645 P.2d at 627.

15 Robl)ins, 645 P.2d at 627.

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Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 14 ot 32

covenant preservation of Scenic’s monopolistic power seems to have been the real motivation for
the restriction As one court noted in assessing a similar covenant:

lt is clear that the broad sweeping language is unrestrained by any limitations keyed to

uniqueness trade secrets confidentiality or even competitive unfaimess. lt does no more

than badly restrain competition This it may not d0.16
When balancing the restriction on future employment of low-level employees such as
McCracken and Simponis against Scenic’s desire to maintain a hold on the flights corning out of
Ft. Defiance, the scales easily tip in favor of the defendants

Additionally, the vague language of the covenant itself supports a conclusion that this
restrictive covenant is non-enforceable The covenant appears to be a “form” agreement Without
much specificity Once terminating employment with Scenic, employees are prevented from either
“directly or “indirectly” calling, soliciting, or attempting to call on or solicit or take away any
customers of the “Company.” The contract does not define “indirect contact,” and the court will not
try and fill in the definition The term “customers” is unclear as well, particularly in light of the
Scenic versus Eagle confirsion. Finally, it is unclear, at best, whether the “Company” referred to is
either Scenic or Eagle. The vague provisions in the contract further supports this court’s conclusion
that the clause is unenforceable

ln considering the reasonableness of Scenic’s restriction, that court has given considerable

attention to the fact that defendants are involved in delivering potentially life-saving medical services

to a remote and under served area. ln employment within the medical profession in particular, courts

 

16 Columbia Ribbon & Carl)on Mfg. Co., Inc. v. A-l-A Corp., 42 N.Y.Zd 496 (N.Y. 1977)
(cired in Robbins, 645 P.2d at 628).

14

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 15 of 32

frequently consider the public interest in evaluating any restrictive employment covenant 1? Here,
the public interest consideration tips the balance decisively against restricting medical services

lt is obvious that there is a compelling need for medical services in the remote locations
served by Scenic. Eagle acknowledges it is the only air ambulance service operating out of Kayenta
and Chinle, Arizona. Scenic admitted there is a “consta.nt and critical need” for medical staff in the
area at issue that the “public interest is served by having more, not fewer air ambulance services to
respond to the emergency medical needs of the Navajo nation.”18

Courts have strictly scrutinized covenants not to compete when they interfere with the
delivery of medical services Though not binding on this court, the Arizona Supreme Court’s
decision in Valley Medical Specialists v. Farl)er19 is instructive on this point ln that case, the court
refused to enforce a non-compete clause that restricted a physician’s right to practice medicine
because of public policy considerations The Arizona Supreme Court affirmed a trial judge’s
decision finding that a restrictive covenant forbidding a pulmonologist from competing within a
specified area was “unreasonably broad and against public policy.”l° The court noted a number of

problems with the covenant including its lack of an exception f`or emergency medical treatment and

 

17 See New Castle Orthopedic Associates v. Bnrns, 392 A.2d 1383, 1387 (Pa. 1978);
Valley Medical Specialists v. Farber, 982 P.2d 1277, 1281 (Ariz. 1999); lredell Digestive
Disease Clinic, P.A. v. Petrozza, 373 S.E.2d 449 (N.C. Ct. App. 1988).

1SScenic’s Resp. to Defendant’s F acts paragraph 30.
19 982 P`Zd 1277 (AIiZ. 1999).
20 ld. at l285.

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Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 16 of 32

impingement on “the sensitive and personal nature of the doctor-patient relationship.”21 The court
concluded: “We stop short of holding that restrictive covenants between physicians will never be
enforced, but caution that such restrictions will be strictly construed.” 22

Other jurisdictions have been similarly concerned about the public policy ramification of
enforcing covenants not to compete that potentially block the delivery of medical services.” The
Ohio Court oprpeals for example, noted an “acute” measure of “disfavor” of restrictive covenants
among physicians because of their potential to harm the public interest24 The court held that such
covenants “should be strictly construed in favor of professional mobility and access to medical care
and facilities.”25 Similarly, the ldaho Supreme Court has refirsed to enjoin competition by two
doctors practicing pediatrics and neonatology in a rural community, explaining:

ln our view, the critical focus should be upon the community where the restriction

would apply The known needs of that community are to be examined and weighed

in determining whether specific enforcement is appropriate . . . lt has been shown,

in this case, by sufficient competent though disputed, evidence that the welfare of

the public in the [rural] area would have been seriously impaired by enjoining [the
doctors] from practicing their specialty26

 

21 ld.
22 Id. at 1032.

23 See generally Paula Berg, Jna'icial Enforcement of Covenants not to Compete Between
Physicians: Protecting Dociors ' lnterests at Patients ’ Expense, 45 RUTGERS L. REV. l, 28-30
(1992).

24 ohio Uroiagy, ina v. Pon, 594 N_s.zd 1027,1031 (ohio App. 1991).
25 1a ar1032.
26 nick v. Geisi, 693 P.2d 1133 (rd. Cr. App. 1985).

16

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 17 of 32

The Supreme Court of Pennsylvania held that a lower court erred in enforcing a covenant barring
an orthopedic physician from competing with his previous employer because the public’s interest
in having a sufficient number of orthopedic surgeons27 And the North Carolina Court of Appeals
found that a restrictive covenant was not enforceable because it would result in a shortage of
gastroenterologists in a particular area.28 Presumably because of public interest concerns several
states have even enacted a flat statutory ban on covenants not to compete in physician employment
contracts or partnership agreements29

To be sure, these cases have generally arisen in the context of restrictions of a physician 's
ability to practice medicine, rather than the more specialized arena of air ambulance services But
the concern about harm to the public interest recognized in these various jurisdictions is equally valid
in this case. The parties do not dispute the importance of air ambulance service in the remote areas
involved in this case, which no doubt is literally of life-or-death importance to some patients who
must be transported rapidly to see a physician

In its motion in support of its request for a preliminary inj unction, Scenic argues that the Utah
Supreme Court’s decision in Kasco Services Corporation v. Benson30 compels this court to enforce
the restrictive covenant The court in Kasco enforced a covenant not to compete, holding that a sales

representative who had regular and routine contact with customers had established goodwill entitling

 

21 See New Castle Orthopedic Assoc., 392 A.2d 1383.
28 See lredell Digestive Disease Clinic, P.A., 373 S.E.Zd 449.

29 See, e.g., Colo.Rev.stai_ § 8-2-113(3) (1986)-, Del.Code Ann. tit 6, § 2707 (1993)-, M.
G.L.A. 112, § 12x (1977).

30 831 P.2d 86 (Utah 1992) .

17

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 18 of 32

his employer to enforce a covenant not to compete Furthermore the court concluded that the
representative’s services were “special, unique and extraordina.ry.”31 Indeed, the court held the
representative Was, for all intents and purposes the company in the area in question32 The facts here
are quite distinguishable ln its complaint, Scenic describes Simponis and McCracken as a “flight
paramedic” and a “flight nurse,” not salespeople Second, the majority of their contact was with the
Ft. Defiance Hospital, according to Scenic’s complaint They were not on a sales “route” as the
defendant in Kasco, but were essentially only called to Ft. Defiance if ~ and only if - a medical
emergency developed Their contact with Ft. Defiance was controlled by medical exigencies not
customer development Because McCracken and Simponis provided such medical services and did
not operate on a regular sales “route” as sales personnel, Kasco is readily distinguishable

A final point to consider in determining the reasonableness of the covenant are its temporal
and geographic limitations33 The covenant in this case specifies a one-year time restriction, which
might be reasonable in other contexts34 lt does not, however, state a specific geographic restriction
The reasonableness of the restraints in restrictive covenants is determined on a case-by-case basis
taking into account the particular facts and circumstances surrounding the case and the subject

covenant.i’5 To resolve this issue, courts typically look at whether the business is question was

 

3‘ iii iii ss

32 iii

33 System Concepts, Inc., 669 P.2d at 426.

34 See iii iii 426, ciiiiig 41 A.L_R. 2d 179 (1955)

35 System Concepts, Inc_, 669 P.2d at 417, citing Pancahe Realty Co. v. Harl)er, 73 S.E.2d
438 (w. va. 1952).

18

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 19 of 32

“local.”36 ln this case, the very nature of “air” ambulance service and the large geography covered
prevents this from being a “local” business This factor, too, weighs against enforceability

ln short, balancing all of the relevant competing factors the undisputed facts in this case
demonstrate that the covenant at the heart of this lawsuit is unreasonable and therefore
unenforceable Scenic has scarcely any legitimate interest in enforcing the covenant while a number
of factors - including principally the need to protect the public interest - argue against enforcement
For all these reasons the court grants summary judgment for defendants on the breach of contract
claim.

B. Other Derivative Claims

Most of the other claims in Scenic’ s complaint are all essentially derivative of the breach of
contract claim. With this linchpin claim removed, all other claims are without merit for similar
reasons - with the exception of the breach of loyalty and conspiracy claim, which is without merit
for reasons requiring separate discussion

l . Breach ofCovenant of Good Faith and Fair Dealing

ln its complaint, Scenic also recasts the restrictive covenant claims as a breach of the
covenant of good faith and fair dealing “implied in the Employment Agreement.”31 ln light of the
court’s determination that the nonsolicitation clause was unenforceable McCracken, and Simponis
did not violate any “implied” covenants in the agreement Therefore, summary judgment is proper

on this cause of action

 

36id citing Blake, Employee Agreements Not to Compete, 73 HARV. L.REV. 625 (1960).
31 Complaint paras 32-34.

19

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 20 of 32

2. Interference with Economic Relations

Scenic next dresses up the restrictive covenant claim as an “interference with economic
relations” claim.38 This cause of action begins by contending that “[defendants] were aware of the
other [defenda.nts’] individual contract obligations to refrain from soliciting Scenic’s customers.”39
Because the court has found those obligations unenforceable, the interference with economic
relations claim cannot stand.

In addition, to prove a claim for interference with economic relations, Scenic must show that
the defendants had “improper purpose or improper means.”“° Improper means requires an act that
is contrary to Iaw. A defendant’s choice to merely further his own financial gain is insufficient to
meet the “improper purpose” prong of the test.41 The defendants Were seeking new employment,
higher pay, and better Working conditions, and thus did not have an “improper purpose” in their
efforts to start Stat Air. Summary judgment is therefore proper on this claim as well.

3 . Conversion

ln another variation of the restrictive covenant theme, Scenic pleads a cause of action for

conversion42 This cause of action contends that defendants “have converted for their own use and

benefit the goodwill . . . [that] belongs to Scenic, as well as confidential information belonging to

 

33 Complaint paras. 35-40.

39 Complaint para. 35 .

40 See Leigh Fumiiure & Carpet CO. v. Isom, 657 P.2d 293, 307-308 (Utah 1982).
41 See id. at 308-09.

42 Complaint paras. 41-45.

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Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 21 of 32

Scenic.”43 This cause of action is simply another repleading of the restrictive covenant claim. It is
therefore rejected for the reasons the covenant claim was rej ected.

As an independent reason for granting summary judgment on this cause of action, an action
for conversion requires that Scenic prove that the act in question constituted an act of willful
interference with a chattel, done without lawful justification by which the owner was deprived of
its use and possession44 Under Utah law, conversion requires “chattel.”45 Scenic has not established
the loss of chattel, it only alleges the loss of goodwili, employees and customers, which is
insufficient to prove this claim.

Even assuming intangible property (e.g., goodwill) could be “converted,” an additional flaw
in this claim is that Scenic has not established exactly what trade secrets or goodwill the defendants
actually converted. With respect to trade “secrets,” the names and contacts at the various hospitals
is information available to anyone who picked up a phone book. The only item that was arguably
proprietary was Eagle’s, not Scenic ’s, manual regarding CAMTS compliance In any event, CAMTS
makes the standards for accreditation available to those who seek this information With respect to
goodwill, the “goodwill” that Scenic had did not leave when the defendants left. The goodwill
essentially resides in the CAMTS certificate, which the defendants did not take. For all these

reasons, the court finds summary judgment proper for the defendants on this claim as well.

 

43 Id. at para 42.

44 Lake Philgas Service v. Vailey Bank & Trust Co., 845 P.2d 951, 955 (Utah Ct. App_
1993).

45 See e.g. Afta Ina’ustries Ltd. v. Hursi, 846 P.2d 1282, 1289 n.18 (Utah 1993).

21

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 22 of 32

4. Unfair Compeiition

Scenic next alleges that the defendants engaged in unfair competition against it.4° To the
extent that this cause of action repeats the restrictive covenant claim, summary judgment is
appropriate for the Simponis and McCracken as well. To the extent that this cause of action goes
any further, it is a bit cheeky (to the say the least) for a monopolist to allege a new competitor is
competing unfairly based on nothing more than the competitor’s entry into the market The
complaint does not allege any specific facts that would support an unfair competition claim, and
therefore any remaining portion of this cause of action is without merit as well.

C. Breach of a Duty of Loyalty and Conspiracy to Breach the Duty

The breach of loyalty claim (and related conspiracy claim) is not simply a variation on the
covenant-not-to-compete theme. It therefore deserves fuller discussion

The final claim presented in Scenic’s complaint is that the defendants breached a duty of
loyalty to act in the best interests of Scenic.47 The complaint is not very specific on forms of the
breach But the most substantive allegations appear to be that the defendants solicited customers of
Scenic and co-workers at Scenic and that this was contrary to the best interests of Scenic.

Summary judgment on these claims is also appropriate, although this issue is closer than the
others previously discussed With respect to the issue of the defendants soliciting Scenic’s

customers, the complaint does not specifically allege that the solicitation took place during

 

46 Complaint paras. 56-58.
47 Complaint para. 46-51.

22

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 23 of 32

defendants’ employment at Scenic. In the most extensive elaboration in the complaint, the only
specific allegation is made against defendant McCracken as follows:

Acting in the name of Stat, and just one day after McCracken ended his employment with

Scenic, McCracken signed and sent this document soliciting work from representatives of

Fort Defiance hospital. In this documents, Defendants say they “look forward to continuing

the close relationship” between them and the Fort Defiance Hospital staff.
This allegation alleges solicitation after McCracken left Scenic. In such circumstances, there is no
breach of a duty of loyalty because the employment - and consequently the duty of loyalty ~ has
simply ended.48

With respect to defendants soliciting co-workers, the complaint does allege that this took
place during the defendants employment with Scenic.49 According to Scenic, the gist of this cause
of action is that the defendants held “meetings” during the time the defendants were employees at
Scenic to discuss forming a competing organization These discussion apparently included whether
the defendants (and perhaps other at-will employees) should leave Scenic. Without more, these
general allegations are insufficient to survive a motion for summary judgment ln general, an
employee “may make arrangements to compete with her employer before termination of emp loyment
‘except that [s]he cannot properly use confidential information peculiar to her employer’ s business

and acquired therein ”’5° As explained in a case cited by Scenic, “courts have recognized ‘a privilege

in favor of employees which enables them to prepare or make arrangements to compete with their

 

43 See Restatement (2d) Agency § 393 comment e.
49 Complaint para. 21.

50 Western Medical Consuliants, Inc. v. Johnson, 80 F.3d 1331, 1336 (9“‘ Cir. 1996)
(quoting Restatement (Second) of Agency § 393, comment e.

23

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 24 of 32

employers prior to leaving the employ of their prospective rivals Without fear of incurring liability
for breach of their fiduciary duty of loyalty.”’51 Preparation to begin competing can, in proper
circumstances, include discussions with fellow co-workers. The Restatement (Second) ongency
has noted:
[I]t is normally permissible for employees of a firrn, or for some of its partners, to agree
among themselves, while still employed, that they will engage in competition with the firm
at the end of the period specified in their employment contracts However, a court may find
that it is a breach of duty for a number of the key officers or employees to agree to leave their
employment simultaneously and without giving the employer an opportunity to hire and train
replacements52
Here, the defendants were low-level employees at Scenic. The general principle of loyalty to one’s
employer is that a “corporate officer or other “high-echelon” employee is barred from actively
competing with his employer during the tenure of his employment, even in the absence of an express
covenant so providing.53 Simply, while employed, a high-level employee must refrain from actively

and directly competing with his employer.54 However, once the employment relationship comes to

an end, the employee is at liberty to solicit his former employer’s business, subject to concerns for

 

51 Jet Courier' Service, Inc. v. Mnlei, 771 P.2d 486, 492 (Colo. 1989) (quoting Maryland
Mez‘als, fnc. v. Metzner, 382 A.Zd 564, 569 (Md. 1978).

52 Restatement (Second) of Agency § 393, comment e.

53 See Maryland Metals, Inc., 382 A.2d at 568, citing Ritterpnsch v. Lithographic Plate
Service, 119 A.2d 392 (Md. 1956); Becker v. Bailey, 299 A.2d 835 (Md. 1973); Restatement
(Second) of Agency sec 393 (195'7); W. Fletcher, CYCLoPEDIA or ms LAw oF PRivArE
CoRPoRATIoNs 856 (Perm. ed. 1975).

54Id. citing C-E-I-R, Inc. v. Computer Dynainics Corp., 183 A.2d 374 (Md. 1962).

24

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 25 of 32

misuse of trade secrets and confidential information55 The policy underlying this favors free
competition and recognizes a privilege in favor of employees that allows them to make arrangements
to compete with their employers prior to leaving their employment without fear of incurring liability
for breach of their duty of loyalty5th Courts have not found a breach of duty even when employees
purchased a rival business57 or advised customers of their imminent departure58 Courts have found
a breach of the duty of loyalty when a high-echelon employee,59 misappropriated trade secrets,"0
misused confidential information61 solicited employer’s customers prior to ending employrnent,62

or conspired to bring about mass resignations of the employer’s key employees,63

 

55Id. citing Ritterpusch, 119 A.2d 392; Abbott Redtnont Thinlite Corp. v. Redmont, 475
F.2d 85, 89 (2d Cir. 1973).

561¢1'. citing Operations Research, Inc. v. Davidson, 217 A.2d 375 (Md. 1966),
Ritterpasch, 119 A.2d 392; Unitca1 Aircraft Corp. v. Boreen, 413 F.2d 694, 700 (3rd Cir. 1969)
other citations omitted

57 See C-E-r-R, rnc., 193 A.2d 374.

58 Operations Research, 217A.2d 375; and Aetna Bldg. Maintenance CO. v. West, 246
P.2d 11, 15 (Cal. 1952).

59 See Marylana’ Metals, 382 A.2d at 568; citing Riterpnsck, 1 19 A.2d 392; and Jet
Courier Service, lnc., 771 P.2d 486.

60 See Space Aero Proa'ucts Co. v. Darling CO., 208 A.2d 74 (Md. 1965), cert dcnied, 382
U.S. 843 (1965).

61See C~E-I-R, Inc., 183 A.2d 374.
62 See Ritterpusch, 119 A.2d 392.
63 See Duane Jones CO. v. Burkc, l 17 N.E. 2d 237, 245 (N.Y. 1954).

25

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 26 of 32

Though the defendants fully intended to compete with Scenic and Eagle, there is no specific
allegation that they acted fraudulently, unfairly or wrongfully in their departure64 They were low-
level employees, and only Went to hospitals and did not control which hospitals they served. They
had no luck recruiting any Scenic employees, and did not solicit flights from Ft. Defiance until after
they left Scenic. fn short, this case involves a commonplace decision by several low~level employees
to leave for greener pastures and begin competing with their employer. This is not the stuff from
which a breach of loyalty claim can be manufactured

The cases Scenic relies upon to support its claims are all easily distinguished All involved
some concrete action that affirmatively harmed the employer independently of the harm created by
new competition For example, in the Utah Supreme Court decision in Registered Physical
Therapists, ]nc. v. Jepsan65 (the lead case cited by Scenic), the disgruntled employee removed
equipment from a business, converted accounts receivable and monies from the business to his own
use, and took critical financial records, all as part of an effort to establish a competing business66
Here, there is nothing remotely approaching such a harmful course of conduct.

Another case cited by Scenic ~ the Colorado Supreme Court’s decision in Jet Coarier Serv.,
lnc. v. ]Vi'aiei67 - actually supports Simponis and McCracken’s position The case involved an air

courier service, in which a Vice President and General manager of Jet’s Westem Zone operations

 

64 See Ma)j)land Metais, 382 A.2d at 569; citing Rob.b v. Green, 2 Q.B. 1, 15, aff’d
(1895).

66 534 P.2d 857 (Utah 1978).
66 tit at 858.
66 771 P.2d 436(€010. 1989).

26

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 27 of 32

had “autonomy in such matters as the solicitation of business, the operation of the business, and
personnel policies.” and “received a base salary plus ten percent of the net profits of the Westem
Zone.1163 The court suggested that a duty of loyalty could be analogized to on agency law, and
pointed to cases which suggested that the higher standard of the duty of loyalty may only be
appropriate Where “an employee has sufficient authority to act for the employer or access to
confidential information to make apt the principal/agency analogy.”69 The cases cited only applied
to officers, directors, high-echelon employees, and “trusted agent or employees” - a far cry from the
employees at issue here. The defendants in this case were a flight nurse, and a paramedic, with no
managerial authority or autonomy whatsoever. In fact they did not even work unless they were
“called out” for a flight. Moreover, the court instructed that:

[A]ctions traditionally taken by departing employees with regard to co-workers

leaving simultaneously will not amount to a breach of the duty of loyalty unless other

factors, such as the extent of the solicitations or nature of the offers of employment,

dictate a finding of a beach of a duty of loyalty. . . . Under this flexible approach,

traditional actions by departing employees, such as the executive who leaves with her

secretary, the mechanic who leaves with his apprentice, or the firm partner who

leaves with associates from her departrnent, would not give rise to a breach of the

duty of loyalty unless other factors, such as an intent to injure the employer in the

continuation of his business, where present.70
This case seems to fit the description of the kinds of “traditional” cases in which no breach of the

duty of loyalty occurs. Moreover, the types of “other factors” that might indicate a breach of the duty

of loyalty are not present here.

 

66 1a at 489.
69 rd. ar 492 n. 10.
70 at at 497 n.13_

27

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 28 of 32

Finally, Scenic seems to suggest that a breach of duty can be found here because the
defendants took “confidential” information with them. If true, such an allegation could support a
breach of loyalty claim,71 But, for the reasons explained earlier, there is no truly confidential
information at issue here. As noted, calling customer lists _ even lists including a customers’ unique
preferences w as trade secrets stretches the concept to the point of “unrecognizability.”72

For all these reasons, summary judgment is appropriate on the breach of fiduciary duty claim.
There is also an additional basis for rejecting the claims regarding trade secrets. Simponis and
McCracken correctly point out that if confidential or trade secrets had been involved this claim
would fail because it is preempted by the Utah Uniform Trade Secrets Act.73 The Trade Secrets Act
was designed to displace conflicting tort, restitutionary, and other laws providing civil remedies for
misappropriation of trade secrets, except (l) contract remedies, whether or not based upon
misappropriation of a trade secret; and (2) other civil remedies that are not based on
misappropriation of a trade secret.74 None of the exceptions are present in this case, so even if this
Was a true trade secret case - which it is not - this cause of action would be preempted

The only remaining claim is a civil conspiracy claim.75 To prove a claim for civil conspiracy

Scenic must allege (l) a combination of two or more persons, (2) an object to be accomplished (3)

 

n See i.a'., e.g., n 58.

72 See Renec Beauty Salon.s, 652 A.2d at 1349.
73 UTAH CODE ANN. § 13-24-1, et Seq.
7“UTAH CODE ANN. § 13-24-8.

75 Complaint paras. 52-55.

28

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 29 of 32

a meeting of the minds on the object or course of action (4) one or more unlawful, overt acts, (5)
damages as a proximate result thereof 76 Notably, if the object of the alleged conspiracy or the
means used to attain it is lawful, even if damage results to plaintiff or defendant acted with malicious
motive, there can be no civil action for conspiracy77 Since all of the other causes of actions have
been eliminated, there is no unlawful motive present, and therefore no conspiracy cause of action
can be properly pled.

III. Additional Discovery and Briei”mg

F or all the foregoing reasons, the court grants defendants Simponis and McCracken’s motion
for summary judgment The court recognizes that its decision rests on grounds that, in part, were
briefed by Scenic several months ago, and in the context of a motion for a preliminary injunction
The court is worried, however, about another significant competing concern lt appears to the court
that this case involves a large, well-funded entity (Scenic) attempting to use litigation to maintain
a monopoly position and forestall legitimate competitive efforts. This litigation burden may be
particularly substantial when directed at the kinds of lower-level employees who are the defendants
here. For this reason, and for the reason Scenic’s case appears to be entirely without merit, the court
has stayed further discovery in this matter.

The court wishes to insure that Scenic has a full and fair opportunity to address all of the
issues discussed in this opinion Therefore, if Scenic believes any of the court’s conclusions are in

error, it is directed to file a motion for reconsideration of the court’s decision to grant summary

 

76 Israel Pagan Estate v. Cannon, 746 P.2d 785, 790, 793 (Utah Ct. App. 1987).
77 Id. At 792.

29

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 30 of 32

judgment in this case. That pleading shall include all materials pertinent to the court’s summary
judgment decision.?g The brief shall be filed within 21 days of this order and should address the
merits of this decision, as well as whether allowing the deposition of defendants Simponis and
McCracken would change this result. Defendants Simponis and McCracken are directed to file any
response within 21 days of any motion filed Scenic’s reply is due 7 days following.

Scenic is further advised that it appears to the court that summary judgment for defendant
Blick’s case is appropriate for the same reasons as indicated for the other defendantsl It further
appears to the court that the cases against defendant lack Malone should be dismissed for failure to
make timely service. Scenic is directed to show any cause to the contrary within 21 days.

IV. Attorneys Fees

McCracken and Simponis have argued for the award of attomey’s fees and costs. Under
Utah law, attorney’s fees are awarded if a suit is without merit and brought in bad faith.?'9 Although
the point is arguable, Scenic’s suit was not brought in bad faith, and the court denies attomey’s fees
regarding the litigation to this point. Of course, the defendants are free to file a new motion for fees
should subsequent litigation prove to be in bad faith.

CGNCLUSION

The court converts Defendants Simponis and McCracken’s motion to dismiss into a motion

for summary judgment and grants the motion If Scenic chooses to file a motion to reconsider, it is

directed to file a brief on the schedule noted Scenic is further directed to show cause why the cases

 

78 See Brcwn v. Zavaras, 63 F.3d 967, 969 (10‘h Cir. 1995).
79see UTAH CoDE ANN. § 78-27-56_

30

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 31 of 32

against defendant Blick and Malone should not be dismissed The court DENIES defendant
Simponis and McCracken’s motion for a stay of discovery as moot. The court DENIES Simponis
and McCracken’s motion for attorney’s fees [70-2].

DATED this kf(n day of August, 2003.

B CEFURT:

Paul G. Cassell
United States Distn`ct Judge

 

31

Case 2:02-cv-01201-PGC Document 80 Filed 08/04/03 Page 32 of 32

tsh
United States District Court

for the
District of Utah
August 5, 2003

* * CERTIFICATE OF SERVICE OF CLERK * *

Re: 2:02-CV-01201

True and correct copies of the attached were either mailed, faxed or e-mailed
by the clerk to the following:

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